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 8                        IN THE UNITED STATES DISTRICT COURT

 9                      FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,              ) 2:15-MJ-0040-AC
                                            )
12               Plaintiff,                 ) STIPULATION AND ORDER
                                            ) CONTINUING PRELIMINARY HEARING
13         v.                               ) DATE
                                            )
14   BRYCE BEAVER,                          )
                                            ) Judge: Hon. Kendall J. Newman
15               Defendant.                 )
                                            )
16                                          )
                                            )
17

18                                     STIPULATION

19         The United States, by and through its undersigned counsel, and

20   the defendant, by and through his counsel of record, hereby stipulate

21   as follows:

22      1. By prior order, this matter was set for Preliminary Hearing on

23         September 4, 2015.

24      2. By this Stipulation, the parties now move to continue the

25         Preliminary Hearing until September 18, 2015, at 2:00 p.m.

26      3. The defendant made his initial appearance on March 4, 2015.

27      4. The defendant is presently out of custody and being supervised

28         by a Pretrial Services Officer.


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 1      5. The United States has provided discovery to the defendant.           This

 2         discovery consists of 30 CDs, including several hours of audio

 3         and video recordings.

 4      6. The parties have discussed a potential pre-indictment resolution

 5         of this matter.     The parties need further time to discuss this

 6         matter, discuss any potential consequences, and to allow counsel

 7         for the defendant reasonable time necessary for preparation and

 8         further investigation, including reviewing all the of the

 9         discovery with the defendant.

10      7. The defendant understands that pursuant to 18 U.S.C. § 3161(b),

11         “any information or indictment charging an individual with the

12         commission of an offense shall be filed within thirty days from

13         the date on which such individual was arrested.”          Time may be

14         excluded under the Speedy Trial Act if the Court finds that the

15         ends of justice served by granting such a continuance outweigh

16         the best interests of the public and the defendant in a speedy

17         trial.   18 U.S.C. § 3161(h)(7)(A).      The parties jointly move to

18         exclude time within which any indictment or information shall be

19         filed from the date of this order, through and including

20         September 18, 2015, pursuant to 18 U.S.C. § 3161(h)(7)(B)(iv),

21         because failure to do so would “deny counsel for the defendant .

22         . . the reasonable time necessary for effective preparation,

23         taking into account the exercise of due diligence.”

24   ///

25   ///

26   ///

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28   ///


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 1      8. Good cause exists under Rule 5.1(d) of the Federal Rules of

 2         Criminal Procedure.

 3   IT IS SO STIPULATED.

 4

 5   DATED: September 1, 2015            /s/ Justin L. Lee   _
                                       JUSTIN L. LEE
 6                                     Assistant U.S. Attorney
 7   DATED: September 1, 2015            /s/ Kelly Babineau     _
                                       KELLY BABINEAU
 8                                     Attorney for Bryce Beaver
                                       (as authorized on September 1, 2015)
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11                                         ORDER
12         IT IS SO FOUND AND ORDERED, this 2nd day of September, 2015.
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     Stipulation to Continue P/H             3          United States v. Bryce Beaver
